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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

  BABY DOE, et al.,                         )
                                            )
        Plaintiffs,                         )
                                            )
  v.                                        )                 Case No. 3:22-cv-49-NKM
                                            )
  JOSHUA MAST, et al.,                      )
                                            )
        Defendants,                         )
                                            )
  and                                       )
                                            )
  UNITED STATES SECRETARY OF                )
  STATE ANTONY BLINKEN, et al.,             )
                                            )
        Nominal Defendants.                 )
  __________________________________________)

                DEFENDANT AHMAD OSMANI’S RESPONSE TO
          THE PIPE HITTER FOUNDATION’S MOTION TO QUASH AND
      FURTHER SUGGESTION OF LACK OF SUBJECT-MATTER JURISDICTION

         Defendant Ahmad Osmani hereby files this response to the motion to quash filed by non-

  party Pipe Hitter Foundation (“PHF”) (D.E. #256) and additionally replies to the response to the

  motion to quash filed by Plaintiffs (D.E. #267). Moreover, Mr. Osmani has a motion to dismiss

  pending with the Court, filed November 14, 2022, which includes lack of subject-matter

  jurisdiction under Fed. R. Civ. P. 12(b)(1) as one of the bases for dismissal of the claims against

  Mr. Osmani along with lack of personal jurisdiction (Rule 12(b)(2)) and failure to state a claim

  upon which relief can be granted (Rule 12(b)(6)). (D.E. #92.)

         Through this brief and supporting documentation, Mr. Osmani respectfully offers the Court

  pertinent information regarding the PHF’s pending motion to quash and further supports the

  contention of the remaining defendants and PHF that the Court lacks subject-matter jurisdiction.
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                                          INTRODUCTION

         Defendant Ahmad Osmani is not a citizen of the United States. Plaintiffs’ own Amended

  Complaint (as well as their original Complaint) admits this fact. Plaintiffs’ attorneys have also

  been informed by undersigned counsel that he is not a U.S. citizen. And, to removal all doubt, Mr.

  Osmani now provides his own declaration with documentation establishing his immigration status.

         Because Mr. Osmani, like the Does, is not a citizen of the United States, the parties are not

  completely diverse, as required by 28 U.S.C. § 1332, and the Court lacks diversity jurisdiction.

  The claims against Mr. Osmani are also all common law claims arising under state law. There is

  accordingly a lack of subject-matter jurisdiction, and the case should be dismissed, as defendants

  have argued previously and as discussed in the briefing of PHF.

                                             ARGUMENT

     I. DEFENDANT OSMANI IS NOT A U.S. CITIZEN.

         Contrary to the speculation of Plaintiffs in their last-minute scrambling to salvage subject-

  matter jurisdiction, defendant Ahmad Osmani is not a citizen of the United States. (Ex. A:

  Second Decl. of Ahmad Osmani (“Second Osmani Decl.”) ¶¶ 2, 6.) Mr. Osmani was born in

  Afghanistan to Afghan parents, who were not (and have never become) U.S. citizens. (Id. ¶ 2.)

  Mr. Osmani married a U.S. citizen in 2019 and immigrated to the United States in June 2021. (Id.

  ¶ 3.) He is a lawful permanent resident under U.S. immigration law—that is, he resides in the

  United States (specifically, Tennessee) pursuant to a “Green Card.” (Id. ¶¶ 4-5 & Ex. 1.) He has

  never obtained U.S. citizenship, remains a citizen of Afghanistan (like plaintiffs John and Jane

  Doe), and is a citizen of no other nation or country. (Id. ¶¶ 2, 6.)

         Plaintiffs surely know Mr. Osmani is not a U.S. citizen because they have alleged his alien

  status not once, but twice: first in their original Complaint and then again in their Amended



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  Complaint.1 (Compare D.E. #1: Compl. ¶ 16 (“Upon information and belief, Ahmad Osmani is

  an Afghan national permanently residing in Tennessee.”), with D.E. #68: Am. Compl. ¶ 16 (“Upon

  information and belief, Ahmad Osmani is an Afghan national permanently residing in

  Tennessee.”)). Plaintiffs try to rest their sudden about-face on a single verbal misstatement

  apparently made by Mr. Osmani’s counsel in the related state court proceedings, where counsel is

  transcribed as erroneously referring to Mr. Osmani as a “U.S. citizen” rather than a “civilian.”

          As the context of that quick exchange among various counsel with the Court shows, Mr.

  Osmani’s counsel intended to refer to Mr. Osmani as a “civilian,” indicating that he is someone

  not likely to be restricted in his testimony to the bounds of Touhy. (Ex. B: Decl. of B. Tyler Brooks

  (“Brooks Decl.”) ¶¶ 3-5, 13.) Mr. Osmani’s citizenship status was not at issue in that exchange,

  which concerned application of Touhy—something that plainly can and does apply to many “U.S.

  citizen[s]” (such as military personnel like those involved in the facts at issue in this case). Civilian

  status, not citizenship status, was thus the issue for the Court at that time, and civilian status is

  what counsel intended to refer to. (Brooks Decl. ¶¶ 5, 9, 13.)

          Of course, Plaintiffs must have understood all this at the time of the October 4, 2022,

  hearing since upon filing their Amended Complaint—some three weeks after that hearing—they

  continued to allege (correctly) that Mr. Osmani is “an Afghan national permanently residing in

  Tennessee.” (D.E. #68: Am. Compl. ¶ 16.) Mr. Osmani’s counsel also reiterated Mr. Osmani’s




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    Despite their response to the PHF’s motion to quash, Plaintiffs have not sought to amend their pleadings
  to make the allegation that Mr. Osmani is a U.S. citizen, presumably because they could not certify that
  these “factual contentions have evidentiary support[.]” Fed. R. Civ. P. 11(b)(3).


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  permanent legal resident status during a discovery meet and confer held with counsel for Plaintiffs

  on June 27, 2023.2 (Brooks Decl. ¶ 12.)

             In other words, not until Plaintiffs needed a fig leaf to hide the absence of subject-matter

  jurisdiction did they begin to assert a belief that Mr. Osmani is a U.S. citizen. And, if there is any

  doubt left on this question, Mr. Osmani’s immigration status as a permanent legal resident is

  conclusively established by his accompanying declaration and Green Card.3 (Second Osmani

  Decl. ¶ ¶ 4-5 & Ex. 1.)

             As the evidence overwhelmingly and decisively demonstrates, Mr. Osmani is not a U.S.

  citizen.

      II. THE COURT LACKS SUBJECT-MATTER JURISDICTION BECAUSE THERE
          IS AN ABSENCE OF COMPLETE DIVERSITY AND THERE IS NO BASIS FOR
          FEDERAL QUESTION JURISDICTION.

             A. The Presence of Mr. Osmani as a Defendant Destroys Complete Diversity Since
                Plaintiffs, Like Mr. Osmani, are Not U.S. Citizens.
             By suing a fellow alien, Plaintiffs have destroyed federal diversity jurisdiction, thereby

  depriving the Court of subject-matter jurisdiction over this case under 28 U.S.C. § 1332.

  “[D]iversity is lacking where on one side there are citizens and aliens and on the opposite side

  there are only aliens[.]” Gen. Tech. Applications, Inc. v. Exro Ltda, 388 F.3d 114, 120 (4th Cir.



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   Mr. Osmani’s counsel was not provided an opportunity to review the Circuit Court hearing transcript for
  accuracy, and the instant motion is the first counsel has heard of any purported doubt concerning Mr.
  Osmani’s status as a lawful permanent resident. (See Brooks Decl. ¶¶ 6, 9-13.)
  3
    The burden of proving jurisdiction rests with the party seeking to invoke federal jurisdiction. Griffin v.
  Matthews, 310 F. Supp. 341, 342 (M.D.N.C. 1969) (“A litigant seeking federal court jurisdiction must plead
  the essential jurisdictional facts[] and has the burden of establishing such facts by the preponderance of
  evidence if the allegations are challenged by his adversary.), aff’d 423 F.2d 272 (4th Cir. 1970) (citation
  omitted); see In re Tip-Pa-Hans Enterprises, Inc., 27 B.R. 780, 783 (Bankr. W.D. Va. 1983) (“Because of
  this unusual nature of the federal courts, and because it would not be simply wrong but indeed an
  unconstitutional invasion of the powers reserved to the states, if those courts were to entertain cases not
  within their jurisdiction, the rule is well-settled that the party seeking to invoke the jurisdiction of a federal
  court must demonstrate that the case is within the jurisdictional competence of such a court.”).

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  2004) (quoting Univ. Licensing Corp. v. Paola del Lungo S.P.A., 293 F.3d 579, 581 (2d Cir. 2002))

  (ellipsis omitted); see Grupo Dataflux v. Atlas Glob. Grp., L.P., 541 U.S. 567, 569 (2004)

  (“[A]liens were on both sides of the case, and the requisite diversity was therefore absent[.]”); see

  also Phoenix Trading FZCO v. Dennis Corp., Case No. 4:22-cv-02355-RBH, 2022 WL 18674462,

  at *2, 2022 U.S. Dist. LEXIS 238169, at *6-7 (D.S.C. Aug. 29, 2022) (collecting cases).

          Plaintiffs, like Mr. Osmani, are citizens of Afghanistan rather than the United States. (Am.

  Compl. ¶ 12.) Mr. Osmani’s status as a legal permanent resident does not change the analysis for

  diversity purposes. This is because “a foreign citizen admitted to the United States for permanent

  residence is not a citizen of a State, but rather a citizen or subject of a foreign state.” Hung Cavalieri

  v. Avior Airlines C.A., 25 F.4th 843, 849 (11th Cir. 2022) (quotation marks and alterations

  omitted)). Federal law therefore dictates that a lawful permanent resident “is an alien for the

  purposes of diversity jurisdiction.” Tagger v. Strauss Grp., Ltd., 951 F.3d 124, 126 (2d Cir. 2020)

  (per curiam). Thus, as another District Court in this Circuit has held, there can be no federal

  diversity jurisdiction “over a case with alien Plaintiffs and a permanent resident alien Defendant

  because complete diversity is destroyed.” Jiuna Wang v. NYZ Mgmt. Servs., LLC, No. 3:19-cv-

  00642-FDW-DSC, 2020 WL 2926477, at *3-4, 2020 U.S. Dist. LEXIS 98349, at *9 (W.D.N.C.

  June 3, 2020).

          These jurisdictional principles were expertly explained in the briefing submitted by the

  PHF in support of its motion to quash. (See D.E. #257: Non-Party Pipe Hitter Foundation’s Mot.

  to Quash or for Entry of a Protective Order, at 8-12.) In their response to that motion, Plaintiffs

  do not challenge the PHF’s interpretation of the law on this point. (See D.E. #267: Pls.’ Mem. in

  Opp. To Non-Party Piper Hitter Foundation’s Mot. to Quash Subpoena or for Protective Order, at




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  8-9.) Plaintiffs instead contend that Mr. Osmani is a U.S. citizen—a proposition that has been

  demonstrated to be wholly erroneous. (Second Osmani Decl. ¶¶ 4-6 & Ex. 1.)

          Therefore, by naming alien Osmani as a defendant, the alien Plaintiffs indisputably

  destroyed diversity jurisdiction under 28 U.S.C. § 1332. Because there is also no federal question

  jurisdiction (as shown below), dismissal is necessary.

          B. Plaintiffs Fail to Demonstrate Any Basis for the Exercise of Federal Question
             Jurisdiction over Mr. Osmani by a Preponderance of the Evidence.
          Federal question jurisdiction under 28 U.S.C. § 1331 also does not lie for any of Plaintiffs’

  claims against Mr. Osmani.4 “A district court is a court of limited jurisdiction ‘(a)nd the fair

  presumption is . . . that a cause is without its jurisdiction till the contrary appears[.]” Fairfax

  Countywide Citizens Ass’n v. Fairfax Cnty., Va., 571 F.2d 1299, 1303 (4th Cir. 1978) (quoting

  Turner v. President, Dirs. and Co. of the Bank of N. Am., 4 Dall. 7, 10, 1 L. Ed. 718, 719 (1799)).

  “The mere assertion of a federal claim is not sufficient to obtain jurisdiction[.]” Lovern v. Edwards,

  190 F.3d 648, 654 (4th Cir. 1999) (citing Davis v. Pak, 856 F.2d 648, 650 (4th Cir. 1988)). The

  party seeking to invoke the Court’s authority bears the burden of proving federal question

  jurisdiction by a preponderance of the evidence. See, e.g., Zoroastrian Ctr. & Darb-E-Mehr of

  Metro. Wash., D.C. v. Rustam Guiv Fnd. of N.Y., 822 F.3d 739, 748 (4th Cir. 2016) (citing

  Mulcahey v. Columbia Organic Chems. Co., Inc., 29 F.3d 148, 151 (4th Cir. 1994)). Furthermore,

  “[u]nder the well-pleaded complaint rule, which applies equally to original and removal

  jurisdiction, a federal question must appear from the face of the plaintiff’s well-pleaded

  complaint.” Richards v. Appalachian Power Co., 836 F. Supp. 2d 436, 439 (S.D. W. Va. 2011)

  (citing Louisville & Nasvhille R.R. v. Mottley, 211 U.S. 149, 152, (1908), and Discover Bank v.


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     Additionally, the federal government officials, who had been named as defendants in their official
  capacities, have now been dismissed, removing any need to consider the effect of their presence in the case
  for jurisdictional purposes. (See D.E. #270: Stipulation of Dismissal.)

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  Vaden, 489 F.3d 594, 609 (4th Cir. 2007) (Goodwin, J., dissenting), maj. op. rev’d, 556 U.S. 49

  (2009)).

          Plaintiffs’ amended complaint asserts three state-law causes of action against Mr. Osmani:

  tortious interference with parental rights (Count I); common law conspiracy (Count III); and

  intentional infliction of emotional distress (Count IV). Though Plaintiffs have alleged that federal

  question jurisdiction applies only as to Count I (see Am. Compl. ¶ 19), in fact Count I will be

  determined by state law, as demonstrated by the parties’ own prior briefing regarding whether the

  count should be dismissed under Rule 12(b)(6) for failure to state a claim. (See, e.g., D.E. #113:

  Pls.’ Opp. to Mot. to Dismiss, at 32-36 (defending against Rule 12(b)(6) motion as to Count I

  without relying on any federal statute, treaty, or principle of federal constitutional or common law

  and instead discussing Virginia and Afghan law)).

          While Plaintiffs seek to invoke the “slim category” of federal jurisdiction under § 1331 for

  litigation freighted with and controlled by federal law, this is not one of those rare cases. “[S]tate-

  law claims only rarely give rise to § 1331 jurisdiction[.]” Burrell v. Bayer Corp., 918 F.3d 372,

  380 (4th Cir. 2019). Echoing the Supreme Court’s admonition about the narrowness of this

  exception, the Fourth Circuit has explained that the “‘mere presence of a federal issue in a state

  cause of action’ is not enough to confer jurisdiction.” Id. (quoting Merrell Dow Pharm. Inc. v.

  Thompson, 478 U.S. 804, 813 (1986)); see, e.g., North Carolina ex rel. Stein v. Eonsmoke LLC,

  423 F. Supp. 3d 162, 168 (M.D.N.C. 2019) (presence of federal standards relative to plaintiff’s

  claims insufficient to confer federal jurisdiction). Otherwise, “innumerable claims traditionally

  heard in state court would be funneled to federal court . . . raising ‘serious federal-state conflicts.’”

  Id. (quoting Franchise Tax Bd. of Cal. v. Constr. Laborers Vacation Trust, 463 U.S. 1, 10 (1983)).




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         To protect these federalism interests and recognize the limited jurisdiction of federal courts,

  see, e.g., Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (“Federal courts

  are courts of limited jurisdiction . . . [and possess] only that power authorized by Constitution and

  statute.”), the Supreme Court has articulated narrow bounds for these exceptional cases. For a

  case with state-law claims to present a federal question sufficient to invoke jurisdiction under §

  1331, the federal issue must be: “(1) necessarily raised, (2) actually disputed, (3) substantial, and

  (4) capable of resolution in federal court without disrupting the federal-state balance approved by

  Congress.” Gunn v. Minton, 568 U.S. 251, 258 (2013) (discussing Grable & Sons Metal Prods.,

  Inc. v. Darue Eng’g & Mfg., 545 U.S. 313-14 (2005)).

         Plaintiffs cannot demonstrate that any of the relevant factors are present here and permit

  federal question jurisdiction over the remaining parties.

         First, “[a] federal question is ‘necessarily raised’ only if it is a ‘necessary element of one

  of the well-pleaded state claims[.]’” Eonsmoke, 423 F. Supp. 3d at 168 (quoting Burrell, 918 F.3d

  at 381). This will generally mean that the federal issue is “inescapable” for resolution of the case.

  See Hartland Lakeside Joint No. 3 School Dist. v. WEA Ins. Corp., 756 F.3d 1032, 1035 (7th Cir.

  2014). By contrast, each of the claims against Mr. Osmani are state tort-law claims (seemingly

  asserted under Virginia law). Though Plaintiffs include a prayer for declaratory relief (which they

  say “necessarily” depends on federal law), as to Mr. Osmani, Plaintiffs really seek only to impose

  monetary damages for allegedly tortious conduct that occurred in the past; a declaratory judgment

  would have no use as to him. Cf., e.g., Friedman v. Geller, 925 F. Supp. 611, 613 (E.D. Wis.1996)

  (“It is inappropriate to use the declaratory judgment statute in what would otherwise be a run-of-

  the-mill negligence action.”) (internal citation omitted). To the extent that there is an issue of who

  are the rightful adoptive parents of Baby Doe, this is an issue of Virginia (not federal) law, actively



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  being litigated in Virginia state court.5 There are also several ways this case could be resolved on

  the merits, for or against Plaintiffs, without any reliance on a federal law—for example, in

  Plaintiffs’ favor, if Virginia state courts were to find that the Plaintiffs are Baby Doe’s rightful

  parents based on state law. See Dixon v. Coburg Dairy, Inc., 369 F.3d 811, 817 (4th Cir. 2004)

  (“[I]f the plaintiff can support his claim with even one theory that does not call for an interpretation

  of federal law, his claim does not ‘arise under’ federal law for purposes of § 1331.”). Thus,

  contrary to Plaintiffs’ contentions, they have failed to demonstrate that any issue of federal law is

  “necessarily raised.”

          Plaintiffs’ Amended Complaint grasps for the Security and Defense Cooperation

  Agreement Between the Islamic Republic of Afghanistan and the United States of America

  (“Bilateral    Accord”),     U.S.-Afghanistan,       Sept.    30,    2014,     15-101,     available    at

  https://www.state.gov/wp-content/uploads/2019/02/15-101-Afghanistan-Defense-

  Cooperation.pdf (last visited Aug. 1, 2023). While this is an international agreement involving the

  United States as a party, it has no purchase in this case by virtue of the fact that the Bilateral

  Accord grants no rights to third parties and is expressly not a judicially enforceable agreement:

  “Any divergence in views or dispute regarding the interpretation or application of this Agreement

  shall be resolved through consultations between the Parties and shall not be referred to any

  national or international court, tribunal or other similar body for any third party for settlement.”

  Bilateral Accord, art. 24, § 1 (emphasis added).

          For example, the U.S. District Court for the District of Columbia examined the

  enforceability of the Bilateral Accord in great detail in United States v. Sum of $70,990,605


  5
   Of note, Judge Worrell in the Virginia Circuit Court matter found that “the United States’ determination
  with regard to its foreign policy imperatives . . . [was] met” when Baby Doe was transferred to the custody
  of the government of Afghanistan. (D.E. #211-1: Va. Cir. Ct. Order, May 3, 2023, at 2-3.)


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   (D.D.C. 2017). Agreeing with the position advanced by the United States in each respect, the

   Court held:

           •   “[T]he United States is plainly correct that the [Bilateral Accord] is not self-executing.”

               Id. at 234.

           •   “[The] language could not be clearer—the [Bilateral Accord] is not judicially

               enforceable.” Id. at 235.

           •   “[The Bilateral Accord] does not bestow any private rights[.]” Id. at 237.

   Therefore, the Court held that the Bilateral Accord “has no bearing on [the] action.” Id. at 238.

   So, too, here the Bilateral Accord has no bearing on the case.

           In their response to PHF’s motion to quash, Plaintiffs cite the Supremacy Clause of the

   U.S. Constitution, see U.S. Const. art. VI, cl. 2, as the basis for federal jurisdiction. The Supremacy

   Clause demands that federal law be recognized as “the supreme Law of the Land.” The Supremacy

   Clause is involved in this case to no greater extent than in any other tort case where a state court

   might be called on to apply federal law at some point in the proceedings.

           To the extent that Plaintiffs rely on the wholly unenforceable Bilateral Accord, invocation

   of the Supremacy Clause appears to be nothing but an attempt to breathe life into a dead legal

   theory.6 Plaintiffs’ brief specifically references “a constitutional right to maintain a parental or

   custodial relationship with Baby Doe,” (Pls.’s Mem. in Opp. to Mot. to Quash, at 10), but none of

   the remaining defendants (including Mr. Osmani) is a state actor in the events described in the

   Amended Complaint. “The United States Constitution regulates only the government and not

   private parties; thus, a litigant claiming a violation of constitutional rights must first establish that



   6
     The mere fact that the United States Government may have made policy expressions of what it would like
   to see happen to Baby Doe does not create any federal law. See generally Medellín v. Texas, 552 U.S. 491,
   531-32 (2008).

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   the conduct he challenges constituted ‘state action.’” Murphy v. Goff, Case No. 6:10-cv-00026,

   2010 WL 2292130, at *9, 2010 U.S. Dist. LEXIS 56119, at *38 (W.D. Va. June 7, 2010) (Moon,

   J.). Plaintiffs allege no facts whatsoever by which any defendant, particularly Mr. Osmani, can be

   deemed a state actor as to any events described in the Amended Complaint.

           Harper v. Massey Coal Services, Inc., Case No. No. 2:10-0894, 2011 WL 322558, 2011

   U.S. Dist. LEXIS 10891 (S.D. W. Va. Feb. 2, 2011), cited by Plaintiffs in their briefing, is not to

   the contrary. Harper did not concern child custody or parental constitutional rights. It did not

   concern the Supremacy Clause. It instead concerned a wage and hour dispute between coal

   workers and their employer. Ultimately, the decision is simply an example of a District Court

   invoking the substantial federal question doctrine over a suit because determination of liability

   under West Virginia wage and hour law necessarily depended on interpretation of the federal Fair

   Labor Standards Act, 29 U.S.C. § 203 et seq. Id. at *5, 2011 U.S. Dist. LEXIS 10891, at *13

   (“Here, no matter how plaintiffs frame their theories of liability under the West Virginia Act, they

   must prove that [defendant] is a covered ‘employer,’ and, in turn, that [defendant] is not an FLSA

   eighty-percenter.”). This is far from the present case, where there is no federal law that must be

   interpreted in order to establish the elements of Plaintiffs’ claim for tortious interference with

   parental rights.

           Accordingly, no federal question is a “necessary element” since it is hard to discern any

   federal issue at all.

           Second, in light of the fact that there are no federal issues (or that those potential federal

   issues are so vague as to border on the diaphanous), they cannot be “actually disputed” in a case

   that involves the assertion of state-law tort claims. See Sodexo, Inc. v. US Foods, Inc., Case No.

   23-71 PJM, 2023 WL 4028159, at *3, 2023 U.S. Dist. LEXIS 104243, at *7 (D. Md. June 14,



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   2023) (“The claims [the plaintiff] brings . . . are indisputably state law claims . . . [A] contract

   claim based on the failure to assign an antitrust claim does not necessarily arise under federal

   common law nor does it mean that the federal law question is actually disputed.”).

           Third, the purported federal issues in this case are not “substantial” for purposes of

   invoking federal jurisdiction. The simple fact that the case may touch on national security or even

   foreign relations is not adequate to give rise to federal question jurisdiction. See, e.g., Cnty. of San

   Mateo v. Chevron Corp., 32 F.4th 733, 774 (9th Cir. 2022). For there to be a “substantial” issue,

   there must be importance “to the federal system as a whole.” Gunn, 568 U.S. at 260. The Ninth

   Circuit has recently summarized when an issue is “substantial” to the federal system generally:

                   An issue has such importance when it raises substantial questions as
                   to the interpretation or validity of a federal statute, . . . or when it
                   challenges the functioning of a federal agency or program . . . .
                   Moreover, an issue may qualify as substantial when it is a pure issue
                   of law . . . that directly draws into question the constitutional validity
                   of an act of Congress . . . and a ruling on the issue is both dispositive
                   of the case and would be controlling in numerous other cases . . . By
                   contrast, a federal issue is not substantial if it is fact-bound and
                   situation-specific, . . . or raises only a hypothetical question unlikely
                   to affect interpretations of federal law in the future . . . . A federal
                   issue is not substantial merely because of its novelty, . . . . or because
                   it will further a uniform interpretation of a federal statute[.]

   City of Oakland v. BP PLC, 969 F.3d 895, 905 (9th Cir. 2020) (internal quotation marks and

   citations omitted and otherwise cleaned up). “The focus of this jurisdictional inquiry is on claims,

   not theories.” W. Va. ex rel. Morrisey v. Pfizer, Inc., 969 F. Supp. 2d 476, 403 (S.D. W. Va. 2013)

   (citations omitted).

           The claims of Plaintiff’s Amended Complaint could not be more “fact-bound” and

   unrelated to the validity of a federal law. Plaintiffs do not challenge the legality of any federal law

   or action by the federal government, but instead allege state law torts committed by a range of

   different private individuals, including lawyers and a translator (viz., Mr. Osmani) involved in

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   bringing a child from Afghanistan to the safety of the United States during the Taliban’s overthrow

   of the existing Afghan government. (See Am. Comp., ¶¶ 26-153; Prayer for Relief a.(i)-(xi).)

   Whether or not there is tort liability for the individual defendants here is not likely to ripple through

   the federal government and affect any federal policy or practice. See, e.g., Bennett v. Sw. Airlines

   Co., 484 F.3d 907, 910-11 (7th Cir. 2007) (finding no federal jurisdiction because case presented

   “a fact-specific application of rules that come from both federal and state law rather than a context-

   free inquiry into the meaning of a federal law. State issues, such as the amount of damages, may

   well predominate. Plaintiffs do not challenge the validity of any federal agency’s or employee’s

   action.”). In this case, where Plaintiffs assert state law tort claims, where no federal law actually

   appears relevant to the case, where Plaintiffs have dismissed the “nominal” federal defendants they

   sued originally, and where state law issues dominate, there is no “substantial” federal issue.

           Fourth, asserting federal jurisdiction over state law torts arising from an alleged familial

   relationship (the status of which will be determined by Virginia state law) risks upsetting our

   system’s federal-state balance. “Federal courts must . . . guard against the litigant who frames a

   pretextual federal issue solely for the purpose of having a state law claim adjudicated in the federal

   system. An informed sense of comity cautions against the federal courts taking such cases and

   Article III of the Constitution forbids it.” Davis v. Pak, 856 F.2d 648, 651 (4th Cir. 1988) (footnote

   omitted). As the U.S. Supreme Court and Fourth Circuit have cautioned further, “‘[W]here the

   alleged claim under the Constitution or federal statutes clearly appears to be immaterial and made

   solely for the purpose of obtaining jurisdiction or where such a claim is wholly insubstantial and

   frivolous,” the federal courts do not have subject matter jurisdiction.’” Id. at n.4 (quoting Bell v.

   Hood, 327 U.S. 678, 682-83 (1946)).




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          Matters of domestic law, especially parent-child relations and child custody, are uniquely

   matters for state courts. See, e.g., Rabinowitz v. N.Y., 329 F. Supp. 2d 373, 376 (E.D.N.Y. 2004)

   (“Federal courts will dismiss actions aimed at changing the results of domestic proceedings,

   including orders of child custody.”) (citations omitted); cf. Ex parte Burrus, 136 U.S. 586, 594

   (1890) (“The whole subject of the domestic relations of husband and wife, parent and child,

   belongs to the laws of the states, and not to the laws of the United States); id. at 596 (1890) (“[T]he

   relations of the father and child are not matters governed by the laws of the United States.”).

          The risk to federalism is especially pronounced in this case because of the ongoing related

   proceedings in state court concerning the adoptive status of Baby Doe. (See, e.g., D.E. #211-1:

   Va. Cir. Ct. Order, May 3, 2023 (granting partial summary judgment and ordering other actions in

   state court litigation); D.E. #221-1: Va. Cir. Ct. Order, May 12, 2023 (certifying interlocutory

   appeal).) For example, as to Count I, there can be no tortious interference by the defendants as to

   the Does’ parental relationship with Baby Doe without the Does being the child’s parents. See,

   e.g., Qiu v. Huang, 77 Va. App. 304, 318, 885 S.E.2d 503, 509-10 (2023) (“[A] claim of tortious

   interference with parental rights in Virginia requires proof of four elements: (1) a right to establish

   or maintain a parental or custodial relationship with [one’s] minor child; (2) an outside party’s

   intentional[ ] infere[nce] with that right without that parent’s consent; (3) resulting harm to the . .

   . parental or custodial relationship; and (4) damages.”) (internal quotation marks and citation

   omitted). The Does’ and the Masts’ relationships with Baby Doe are now being actively litigated

   in the Virginia court system under state law. These state law issues risk interfering with the

   previously filed state court litigation. (See Am. Comp., Prayer for Relief a.(i)-(xi).) As such,

   Plaintiffs cannot fit within the “narrow” exception permitting state law claims to give rise to

   jurisdiction under § 1331.



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          In sum, Plaintiffs cannot establish any of the four factors required for invocation of federal

   question jurisdiction, despite the fact that proving jurisdiction requires them to satisfy each such

   factor. See Gunn, 568 U.S. at 258. Therefore, there is no federal question jurisdiction, and the

   case should be dismissed for lack of subject-matter jurisdiction.

       III. MR. OSMANI’S PENDING MOTION TO DISMISS FOR LACK OF SUBJECT-
            MATTER JURISDICTION UNDER RULE 12(B)(1) SHOULD BE GRANTED.

          Due to the lack of subject-matter jurisdiction, this case, or at a minimum Mr. Osmani, must

   be dismissed under Rule 12(b)(1).7 “If the court determines at any time that it lacks subject-matter

   jurisdiction, the court must dismiss the action.” Fed. R. Civ. P. 12(h)(3) (emphasis added).

   “Subject matter jurisdiction cannot be conferred by consent, . . . nor is it waivable[.]” Crawford

   v. Mokhtari, 842 F. Supp. 840, 843 (D. Md. 1994) (quoting Sosna v. Iowa, 419 U.S. 393 (1975),

   and Louisville & Nashville R.R. v. Mottley, 211 U.S. 149 (1905)).

          Subject-matter jurisdiction is based in both statutory law and the U.S. Constitution, and a

   court is therefore obligated to dismiss a case when subject-matter jurisdiction is lacking. “Because

   a federal court’s subject-matter jurisdiction is created—and limited—by Article III and federal

   statutes, ‘no action of the parties can confer subject-matter jurisdiction upon a federal court,’ and

   ordinary principles of consent, waiver, and estoppel do not apply.” Constantine v. Rectors and

   Visitors of George Mason Univ., 411 F.3d 474, 480 (4th Cir. 2005) (quoting Ins. Corp. of Ireland,

   Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 702 (1982)). Further, “[b]ecause subject-

   matter limitations ‘serve institutional interests,’ they ‘must be policed by the courts on their own

   initiative even at the highest level.’” Id. (quoting Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574,

   583 (1999)).


   7
     As set forth in his briefing on motion to dismiss the Amended Complaint, Mr. Osmani should also be
   dismissed for lack of personal jurisdiction under Rule 12(b)(2) and failure to state a claim under Rule
   12(b)(6); Mr. Osmani continues to assert, and does not waive, any of these defenses.

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           Pending before the Court is Mr. Osmani’s motion to dismiss, which includes a request for

   dismissal under Rule 12(b)(1) for lack of subject-matter jurisdiction. (See D.E. #92 & #93.) Other

   defendants have also moved for dismissal, including on the grounds of lack of subject-matter

   jurisdiction. The Court is therefore not required to act sua sponte. The issue of subject-matter

   jurisdiction is instead ripe for resolution by the Court at this time, and dismissal should be granted

   since Plaintiffs cannot carry their burden of establishing federal court jurisdiction.8 See Lovern,

   190 F.3d at 654 (“Determining the question of subject matter jurisdiction at the outset of the

   litigation is often the most efficient procedure.”) (citing Ruhrgas AG, 526 U.S. 574 (1999)).

                                              CONCLUSION

           WHEREFORE, defendant Ahmad Osmani respectfully urges the Court to grant PHF’s

   motion to quash, given the lack of subject-matter jurisdiction, and for those same reasons he

   respectfully reiterates the need for dismissal under Fed. R. Civ. P. 12(b)(1). Defendant Osmani

   further asks that costs be taxed against Plaintiffs, as allowed by law, and for such other and further

   relief as the Court may deem appropriate.



                                  [Signatures appear on following page.]




   8
    Even if the entire case is not dismissed, Mr. Osmani should be dismissed as a defendant based on Rule 21
   of the Federal Rules of Civil Procedure. See, e.g., Jiuna Wang, 2020 WL 2926477, at *3-4, 2020 U.S. Dist.
   LEXIS 98349, at *9-10 (dismissing alien defendant whose presence destroyed diversity jurisdiction).

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         Respectfully submitted, this 1st day of August, 2023.

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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that the foregoing document was filed electronically with

   the Court’s CM/ECF system on August 1, 2023, which will serve a copy on counsel for the other

   parties and others who have entered an appearance in this case. A copy of this filing may be

   accessed on the Court’s CM/ECF site.

                                                       /s/B. Tyler Brooks
                                                       B. Tyler Brooks




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